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                      UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

                                              §
IDA MARIE PEÑA,
                                              §
                                              §
        Plaintiff,
                                              §    Civil Action No. SA-16-CV-1169-XR
                                              §
v.
                                              §
                                              §
WAGGONER & THOMAS ALL-CARE,
                                              §
INC. AND HASKELENE THOMAS,
                                              §
                                              §
        Defendants.
                                              §

                                            ORDER

       On this date, the Court considered the status of the above-captioned case. After careful

consideration, the Court GRANTS Plaintiff’s Application for Turnover after Judgment and

Appointment of a Receiver. Docket no. 34.

                                      BACKGROUND

       On November 18, 2016, Plaintiff Ida Marie Peña filed her Original Complaint against

Defendants under the Fair Labor Standards Act (“FLSA”). Docket no. 1. Plaintiff alleged that

Defendants failed to pay her required overtime pay for hours worked in excess of forty hours

during each workweek in violation of the FLSA. Id. Defendants denied that they violated the

FLSA and alleged that Plaintiff is exempt from overtime provisions. Docket no. 9. The parties

reached a settlement and on November 17, 2017, the Court entered an order approving the

parties’ settlement agreement. Docket no. 32. On the same date, the Court entered final judgment

in the case, awarding Plaintiff $18,000.00 against Defendants jointly and severally. Docket no.

33.




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       On April 19, 2018, Plaintiff filed her Application for Turnover after Final Judgment and

Appointment of a Receiver. Docket no. 34. Plaintiff stated that although Defendants made two

payments under the agreed payment plan totaling $2,000.00, they missed three scheduled

payments thereafter. Id. at 1–2. Because the terms of the agreed judgment allowed Defendants’

payments to be no more than thirty days late, after which Plaintiff could accelerate damages and

collect the entirety of the remaining amount, Plaintiff sought relief with this Court. Id. at 2.

Plaintiff requests the appointment of a receiver and that Defendants be ordered to turn over any

and all non-exempt property to satisfy the balance of the settlement agreement amount. Id.

       On May 7, 2018, the Court denied Plaintiff’s application, finding that it did not have

jurisdiction to enforce the terms of the parties’ settlement agreement. Docket no. 35. But on June

1, 2018, the Court granted Plaintiff’s motion for reconsideration, after Plaintiff clarified she was

not asking the Court to enforce the terms of the parties’ settlement agreement, but rather to

enforce the Court’s final judgment. Docket no. 37. The Court found that it has jurisdiction to

enforce its Final Judgment, in which it awarded a judgment in favor of Plaintiff for $18,000.00

and against Defendants Waggoner & Thomas All-Care, Inc. and Haskelene Thomas, jointly and

severally. See FED. R. CIV. P. 69. On June 1, 2018, the Court ordered Defendants to respond to

Plaintiff’s Application for Turnover after Judgment and Appointment of a Receiver on or before

June 15, 2018, or the Court would grant Plaintiff’s application, appoint a receiver, and order

Defendants to turn over any non-exempt property to satisfy this Court’s final judgment.

Defendants did not comply with the Court’s order and failed to respond.

                                           ANALYSIS

       Federal Rule of Civil Procedure 69 states that a money judgment is enforced by a writ of

execution and that the procedure on execution, as well as in related proceedings, must accord



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with the procedure of the state where the court is located. FED. R. CIV. P. 69. Under Texas law, a

judgment creditor is entitled to aid from a court to reach property to obtain satisfaction on the

judgment if the judgment debtor owns property that (1) cannot readily be attached or levied by

ordinary legal process, and (2) is not exempt from attachment, execution, or seizure for the

satisfaction of liabilities. TEX. CIV. PRAC. & REM. CODE § 31.002(a). The court may accomplish

this in a number of ways, including by appointing a receiver with the authority to take possession

of the nonexempt property, sell it, and pay the proceeds to the judgment creditor to the extent

required to satisfy the judgment. Id. § 31.002(b)(3).

       Based on the pleadings, evidence, and the arguments of counsel, the Court finds that

Defendants own non-exempt property that cannot readily be attached or levied upon by ordinary

legal process.

       IT IS THEREFORE, ORDERED, ADJUDGED, and DECREED that Thomas L.

Kolker, Greenstein & Kolker, whose address is 1006 E Cesar Chavez St., Austin, Texas 78702-

4208, (telephone number (512) 472-6270, fax number (512) 472-8263) is hereby appointed

Receiver in this case pursuant to the Texas Turnover Statute with the power and authority to take

possession of all leviable property of Defendants, including, but not limited to the following non-

exempt property: (1) all documents or records, including financial records, related to such

property that is in the actual or constructive possession or control of the Defendants; (2) all

financial accounts (bank accounts), certificates of deposit, money-market accounts, accounts

held by any third party; (3) all securities; (4) all equipment, vehicles, boats, and planes; (5) all

safety deposit boxes or vaults; (6) all cash; (7) all negotiable instruments, including promissory

notes, drafts, and checks; (8) causes of action or choses of action; (9) contract rights, whether




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present or future; and (10) accounts receivable; and that all such property shall be held in

custodia legis of said Receiver as of the date of this Order.

       Defendants are ORDERED to immediately turnover to the Receiver within five (5) days

from Defendants’ receipt of a copy of this Order: (1) the documents contained on Exhibit “A”

attached hereto, together with all documents and financial records which may be requested by

the Receiver; (2) all checks, cash, securities (stocks and bonds), promissory notes, documents of

title, and contracts owned by or in the name of Defendants.

       Defendants are ORDERED to continue, until the Judgment in this cause is fully paid, to

turnover to the Receiver at the Receiver’s address all checks, cash, securities, promissory notes,

documents of title, and contracts within three (3) days from Defendants’ receipt and possession

of such property, if, as and when Defendants become in receipt and possession of any such

property. Paychecks for current wages are exempt from this order.

       Requests for information made by the Receiver will have the power of subpoena under

Texas law and failure to comply with such a request from the Receiver may be treated by the

Court as a contempt of court.

       Each member, officer, and director of Defendants is ORDERED to cooperate with the

Receiver herein and to provide the documents listed in Exhibit A. The Court may use the power

of contempt for knowing failure to comply with this Order.

       This Order constitutes authority for the Receiver to collect from the Texas Comptroller of

Public Account, Unclaimed Property Division, any funds held in the name of Defendants and

said sums are ordered to be forwarded to the Receiver by the Texas Comptroller upon receipt of

this Order.




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       The Court directs that any Medicare or Medicaid funds, or funds from related state or

federal programs, or related private agencies, payable to WAGGONER AND THOMAS

ALLCARE, INC. be paid directly to the Receiver and this order constitutes authority for

Trailblazer Health Enterprises, CGS Administrators, LLC., and/or the National Supplier

Clearinghouse or any other Medicare or Medicaid administrator to direct such payments to the

Receiver in the manner that the Receiver requests.

       The Court directs that any funds due to Defendants from United Healthcare or Blue

Cross/Blue Shield or other medical insurance company be paid directly to the Receiver and this

order constitutes authority for these entities to direct such payments to the Receiver in the

manner that the Receiver requests.

       The Court directs that any funds due to Defendants from any private health insurance

plans or administrators be paid directly to the Receiver and this order constitutes authority for

these entities to direct such payments to the Receiver in the manner that the Receiver requests.

       All employees of Defendants and persons under the control of Defendants are ordered to

assist the Receiver in carrying out the powers enumerated herein, including but not limited to

identifying the location of financial documents, the identity of debtors of Defendants and the

location of all financial accounts of Defendants.

       The US Marshals Service is hereby directed and ordered to assist the Receiver in carrying

out his duties and exercising his powers hereunder and to prevent any person from interfering

with the Receiver in taking control and possession of the property of Defendants. The Receiver is

authorized to direct any Constable or Sheriff to seize and sell property under a Writ of

Execution.




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       It is further ORDERED that the above-named receiver may open any mail addressed to

DEFENDANTS, redirect the delivery of any mail addressed to DEFENDANTS, change the

mailing address for DEFENDANTS, so that any mail may come directly to the receiver, and

take such other action pertaining to the receipt and delivery of DEFENDANTS’ mail, at the

Receiver’s discretion.

       It is further ORDERED, that the above-named receiver may open any e-mail addressed

to DEFENDANTS, redirect the delivery of any e-mail addressed to DEFENDANTS, change the

e-mail address for DEFENDANTS, so that any e-mail directed to DEFENDANTS may come

directly to the Receiver, and take such other action pertaining to the receipt and delivery of

DEFENDANTS’ e-mail, at the Receiver’s discretion. Any e-mail server for an e-mail account of

DEFENDANTS shall cooperate in the actions of the Receiver described herein.

       It is further ORDERED that Applicant have and recover of and against Defendants,

Judgment in the additional sum of $500.00 as additional attorney’s fees for the presentation of

this motion.

       It is further ORDERED that no bond is required of the Receiver. The Receiver will pay

himself as receiver’s fees an amount equal to 25% of all proceeds coming into his possession

(before deducting out of pocket costs) which the Court finds is a customary and usual fee for a

turnover receiver. The Receiver’s fees and expenses are taxed as costs against Defendants and as

costs are in addition to amounts owed under the judgment; and Receiver is further directed and

authorized to pay Applicant’s attorney as Trustee for the Applicant the remaining proceeds

coming into his possession. No receiver’s fees exceeding 25% of all proceeds coming into his

possession shall be paid to the Receiver unless an application is filed with and ruled by the

Court. Applicant is ordered to pay a guaranteed minimum fee to the Receiver in the amount of



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$400.00 within five (5) days of the entry of this Order. Receiver will reimburse Applicant for the

minimum fee out of the first amounts recovered by the Receiver that would otherwise be applied

to the Receiver’s fee. All of the Receiver’s fees will be taxed as costs against Defendants. The

Receiver is further ordered to take the oath of his office.

       It is so ORDERED.

       SIGNED this 2nd day of July, 2018.




                                               XAVIER RODRIGUEZ
                                               UNITED STATES DISTRICT JUDGE




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                    EXHIBIT “A” TO RECEIVERSHIP ORDER
                 DOCUMENTS TO BE TURNED OVER TO RECEIVER

Any and all records, as hereinafter described, concerning affairs of Defendants; unless otherwise
noted, for the period 2011 through the present.

   1. bank statements; pass books and other bank or financial institution records;
   2. federal income and state franchise tax returns;
   3. life insurance policies;
   4. all motor vehicle Certificates of Title;
   5. stock certificates and bonds;
   6. promissory notes;
   7. bills of sale;
   8. real property deeds and deeds of trust (regardless of date);
   9. state sales tax reports;
   10. any other record or document evidencing any ownership to real or personal property or to
       any debt owed or money had (regardless of date);
   11. all personal property returns filed with any taxing authority, including but not limited to
       any central appraisal district or tax assessor/collector;
   12. all documents listing or summarizing property owned by the Defendant for the preceding
       72 months; and
   13. credit applications and other documents stating debtors’ financial condition for the
       preceding 36 months.




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